Case 2:05-CV-02425-SHI\/|-tmp Document 13 Filed 08/01/05 Page 1 of 2 Page|D 14

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IN THE UNITED sTATEs DIsTRIcT coURT
FoR THE wESTERN DISTRICT oF TENNESSEE
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TRACY GoREA, .,.rt,\.»iPT~lb

Plaintiff,
vs. Civ. No. 05-2425-Ma P

THE GILLETTE COMPANY,

Defendant.

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ORDER EXTENDING TIME FOR DEFENDANT TO ANSWER OR RESPOND TO
COMPLAINT AND RESPOND TO PLAINTIFFS' MOTION FOR CLASS
CERTIFICATION

 

For good cause shown, the court hereby extends the time for
defendant to answer or respond to the complaint and respond to
plaintiffs' motion for class certication until after the court

rules on defendant's pending motion to stay.

MA__,

TU M. PHAM
United States Magistrate Judge

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Date U '

IT IS SO ORDERED.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:05-CV-02425 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

EssEE

 

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Honorable Samuel Mays
US DISTRICT COURT

